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                                    UNITED STATES DISTRICT COURT
                                             DISTRICT OF PUERTO RICO

                                                    CATEGORY SHEET


               You must accompany your complaint with this Category Sheet, and the Civil Cover Sheet (JS-44).



 Attorney Name (Last, First, MI):       Latimer Valentin, Roberto C.

USDC-PR Bar Number:            302408

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1.      Title (caption) of the Case (provide only the names of the first party on each side):

         Plaintiff:         DLJ Mortgage Capital, Inc.

         Defendant:         Enrique Manuel Espinosa Nunez


2.      Indicate the category to which this case belongs:
             Ordinary Civil Case
             Social Security
             Banking
             Injunction

3.      Indicate the title and number of related cases (if any).

         None.

4.      Has a prior action between the same parties and based on the same claim ever been filed before this Court?

             Yes
             No

5.      Is this case required to be heard and determined by a district court of three judges pursuant to 28 U.S.C. § 2284?

             Yes
             No

6.      Does this case question the constitutionality of a state statute? (See, Fed.R.Civ. P. 24)

             Yes
             No


 Date Submitted: Oct. 18 2019

                                                                                                                      rev. Dec. 2009


                                                         Print Form             Reset Form
